         Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 1 of 9




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Case No:
                                              :
               v.                             :
                                              :       VIOLATIONS:
                                              :
SEAN DAVID WATSON,                            :       18 U.S.C. § 1752(a)
                                              :       (Restricted Building or Grounds)
               Defendant.                     :
                                              :       40 U.S.C. § 5104(e)(2)
                                              :       (Violent Entry or Disorderly Conduct)

                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                            AND ARREST WARRANT

       I, Liam McGrail, Special Agent, Federal Bureau of Investigation (“FBI”), being first duly

sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging SEAN

DAVID WATSON (hereinafter “WATSON”) with violations of 18 U.S.C. § 1752(a) and 40 U.S.C.

§ 5104(e)(2). I respectfully submit that this Affidavit establishes probable cause to believe that

WATSON (1) did knowingly enter or remain in any restricted building or grounds without lawful

authority, or did knowingly, and with intent to impede or disrupt the orderly conduct of Government

business or official functions, engage in disorderly or disruptive conduct, and (2) did willfully and

knowingly engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the

Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of

Congress or either House of Congress, or the orderly conduct in that building of any deliberations

of either House of Congress. Specifically, on or about January 6, 2021, WATSON traveled to

Washington, D.C., and knowingly and willfully joined and encouraged a crowd of individuals who

forcibly entered the U.S. Capitol and impeded, disrupted, and disturbed the orderly conduct of


                                                  1
         Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 2 of 9




business by the United States House of Representatives and the United States Senate.

                                 BACKGROUND OF AFFIANT

       1.      I have been a Special Agent with the FBI since September 2017. I am currently

assigned to the El Paso Division, Alpine Resident Agency of the FBI. Prior to becoming an FBI

Agent, I worked as an information technology professional in the government and private sectors

for approximately five years. As an FBI Agent, I have participated in investigations involving

computer fraud, wire fraud and conspiracies to commit these crimes. In these investigations, I have

been involved in the application for and execution of arrest and search warrants related to criminal

offenses. In addition to my regular duties, I am currently tasked with investigating criminal activity

concerning Sean Davis Watson in and around the Capitol grounds on January 6, 2021.

       2.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.

                                       PROBABLE CAUSE

       3.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       4.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of

the public.




                                                  2
             Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 3 of 9




        5.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

        6.       As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

        7.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        8.       At such time, the certification proceedings still underway and the exterior doors and

windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after



                                                   3
         Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 4 of 9




2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking

windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged

and assisted those acts.

       9.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings

of the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

       10.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                           FACTS SPECIFIC TO SEAN DAVID WATSON

       11.     On January 13, 2021, a witness (hereafter WITNESS 1) notified the FBI that SEAN

DAVID WATSON of Alpine, Texas, participated in the events of January 6, 2021 at the U.S.

Capitol. WITNESS 1, WATSON’S coworker, claimed WATSON showed videos on his cellphone

to others at work, claiming he (WATSON) made the videos while inside the U.S. Capitol building



                                                 4
         Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 5 of 9




on January 6, 2021. WITNESS 1 also stated that WATSON claimed to have been arrested on

January 5, 2021 while in Washington, D.C.             FBI confirmed WATSON’s arrest by D.C.

Metropolitan Police Department for crossing a police line during a protest on January 5, 2021.

       12.     On January 19, 2021, FBI interviewed WATSON. WATSON admitted to traveling

to Washington D.C. to participate in political rallies but denied being at the U.S. Capitol building

during his trip. On January 19, 2021, FBI also interviewed another person (hereafter WITNESS 2)

who claimed WATSON had participated in the U.S. Capitol riots. WITNESS 2 claimed WATSON

showed coworkers videos on his (WATSON’s) cellphone of the U.S Capitol riots and claimed “I

(Watson) fucked shit up.”

       13.     On February 4, 2021, FBI again interviewed WATSON and seized his cellular

telephone pursuant to a warrant. During this interview, WATSON admitted to participating in the

January 6, 2021 U.S. Capitol riot. WATSON further stated that there was footage on his cellphone

that he took inside the U.S. Capitol that he has since deleted.

       14.     On February 9, 2021, your Affiant compared WATSON’s photo to images taken

from January 6, 2021 U.S. Capitol riot footage. Based upon this comparison, your Affiant submits

the following two images taken from Capitol riot holdings, show WATSON was inside the U.S.

Capitol during the January 6, 2021 riot.




                                                  5
         Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 6 of 9




       15.    WATSON’s participation in the January 6, 2021 U.S. Capitol riot is further

supported by a review of WATSON’s texts, photographs, and videos from his seized cellular

telephone. For example, on January 7, 2021, WATSON texts, “I am fine. I was one of the people

that helped storm the capitol building and smash out the windows . We made history today. Proudest

day of my life!” Later that day, WATSON texts, “Got some videos and pics will share them when

I get back.” In addition to texts, the following images were discovered in WATSON’s phone

despite WATSON’s attempt to delete them. These images (below) are of January 6, 2021 in or

around the U.S. Capitol building.

                                                6
Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 7 of 9




                              7
         Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 8 of 9




                                 CONCLUSIONS OF AFFIANT

       16.      Based on the foregoing, your affiant submits that there is probable cause to believe

that WATSON violated:

             a. 18 U.S.C. § 1752(a), which makes it a crime to (1) knowingly enter or remain in any

restricted building or grounds without lawful authority to do; or (2) knowingly, and with intent to

impede or disrupt the orderly conduct of Government business or official functions, engage in

disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds

when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government

business or official functions. For purposes of Section 1752 of Title 18, a restricted building

includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the

President or other person protected by the Secret Service is or will be temporarily visiting; or any

building or grounds so restricted in conjunction with an event designated as a special event of

national significance; and

             b. 40 U.S.C. § 5104(e)(2), which makes it a crime for an individual or group of

individuals to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage

in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings


                                                 8
          Case 1:21-mj-00392-ZMF Document 1-1 Filed 04/22/21 Page 9 of 9




with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress or either

House of Congress, or the orderly conduct in that building of a hearing before, or any deliberations

of, a committee of Congress or either House of Congress; or (G) parade, demonstrate, or picket in

any of the Capitol Buildings.

       17.     As such, I respectfully request that the court issue an arrest warrant for Sean David

Watson.

The statements above are true and accurate to the best of my knowledge and belief.




                                                     Liam McGrail
                                                     Special Agent Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 23rd day of April 2021.


                                                 Zia M.              Digitally signed by Zia
                                                                     M. Faruqui

                                                 Faruqui             Date: 2021.04.23
                                                                     10:37:39 -04'00'
                                                  ______________________________________
                                                  ZIA M. FARUQUI
                                                  MAGISTRATE JUDGE
                                                  FOR THE DISTRICT OF COLUMBIA




                                                 9
